 Case 2:16-cv-00154-GJQ-TPG ECF No. 22 filed 09/17/18 PageID.52 Page 1 of 1

                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION




DEJUAN ALLEN FRANK #642124,

               Plaintiff,                                    Case No. 2:16-CV-154
v.
                                                             HON. GORDON J. QUIST
BERTINA BOWERMAN,

               Defendant.
                                  /

                ORDER ADOPTING REPORT AND RECOMMENDATION

       On August 24, 2018, Magistrate Judge Greeley issued a Report and Recommendation

recommending that the Court grant Plaintiff’s motion for a default judgment and either require

Plaintiff to support his claim of damages by affidavit or set the matter for a trial on damages. The

Report and Recommendation was served on Plaintiff on August 21, 2018. No objections have been

filed pursuant to 28 U.S.C. § 636(b).         Therefore the Court will adopt the Report and

Recommendation.

       Therefore,

       IT IS HEREBY ORDERED that the August 24, 2018, Report and Recommendation (ECF

No. 21) is ADOPTED as the Opinion of the Court, and Plaintiff’s motion for default judgment (ECF

No. 20) is GRANTED.

       IT IS FURTHER ORDERED that within fourteen (14) days of the date of this Order,

Plaintiff shall submit an affidavit supporting his claimed damages.


Dated: September 17, 2018                                  /s/ Gordon J. Quist
                                                          GORDON J. QUIST
                                                     UNITED STATES DISTRICT JUDGE
